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 1                   UNITED STATES DISTRICT COURT
 2                 NORTHERN DISTRICT OF CALIFORNIA
 3                        SAN FRANCISCO DIVISION
 4
 5   JERMAINE THOMAS, et al.,               )   Case No.:
                                            )   3:19-cv-07270-WHA
 6                      Plaintiffs,         )
                                            )
 7   vs.                                    )
                                            )
 8   CRICKET WIRELESS, LLC,                 )
                                            )
 9                      Defendants.         )
     ______________________________)
10
11
12
13          VIDEOTAPED DEPOSITION OF PMK - MICHAEL MOSES
14                                 Volume I
15                      APPEARING REMOTELY FROM
16                           ATLANTA, GEORGIA
17                    TUESDAY, FEBRUARY 2ND, 2021
18
19
20
21    REPORTED BY:
      MONICA LEPE-GEORG
22    CSR No. 11976
23
24    PAGES 1 - 100
25



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 1    to those terms and conditions or does not agree to

 2    those terms and conditions?

 3          A.    So, if you started a -- a Cricket account

 4    or started Cricket service during that time period

 5    of 2012 and 2014, again, if you made one phone call,

 6    sent one text message, used any data on the device

 7    and/or paid for service, you were then considered

 8    bound by those terms and conditions and we would

 9    have -- we have data showing if a device, you know,

10    was used or not by a customer.

11          Q.    So Cricket's -- Cricket's view is -- is --

12    is from 2012 to 2014 --

13                THE STENOGRAPHER:       I'm sorry.      "So

14    Cricket's"...

15    BY MR. HUDSON:

16          Q.    So, Cricket's view is that any customer who

17    used a device that was purchased between 2012 and

18    2014 necessarily agreed to all of Cricket's terms

19    and conditions, including agreeing to arbitration?

20          A.    If they used the device and/or paid any

21    service monies to Cricket Wireless.

22                THE STENOGRAPHER:       I'm sorry?      "If they

23    used a device or paid any service"...

24                THE WITNESS:      To Cricket Wireless.

25    ///



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 1                MR. INGBER:      Same objection.

 2                THE WITNESS:      I can't say -- you know, I

 3    can't say that Cricket was looking to -- to form any

 4    sort of a contract.

 5                MR. HUDSON:      And let's, if we could,

 6    Caitlin, go to -- pull up 48, please.

 7    BY MR. HUDSON:

 8          Q.    And as she's doing that, Mr. Moses, in 2012

 9    and 2013, what was your role at Cricket Wireless?

10          A.    In 2012, I was a company-owned store

11    manager in 20- -- early 2013, I took on a -- a

12    different role as a quality manager.

13          Q.    And Mr. Moses, as a store manager, are you

14    familiar with what we've -- what we've pulled up on

15    the screen?      It's a planogram.       Are you familiar

16    with that?

17          A.    Yes, that looks familiar.

18                MR. HUDSON:      Okay.    We'll -- we'll mark

19    this exhibit as exhibit -- excuse me, Exhibit 90.

20                (Exhibit 90 was marked for identification.)

21                MR. HUDSON:      And if we could, Caitlin,

22    scroll to page 14, please, of the PowerPoint.                   And

23    if you could, just zoom in on that middle -- yeah,

24    just maybe one more on the B1, B2, B3, please.

25    Thank you.



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 1    BY MR. HUDSON:

 2          Q.    Mr. Moses, from your time as a Cricket

 3    store manager, do you rep- -- did you recognize this

 4    poster that's got the B1, B2, and B3 next to it?

 5          A.    I do, yes.

 6          Q.    And this -- this was part of the -- the

 7    Cricket "Half is More" advertising, right?

 8          A.    I don't recall the specific advertising

 9    from that time.

10          Q.    Okay.    But the poster itself indicates,

11    right, Cricket "Half is More"; do you see that?

12          A.    Correct.

13          Q.    And -- and you remember that campaign, I'm

14    assuming, right?

15          A.    I'm sorry.     What was that?       What was the

16    last question?

17          Q.    Do you remember that campaign, sir?

18          A.    I don't recall the particular details of

19    the campaign, no.

20          Q.    Okay.    But one -- one of the things that

21    Cricket regularly indicated to its customers is that

22    it was willing to provide service with no contract,

23    right?

24          A.    That is correct.

25          Q.    And that's what's reflected here on this



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 1                MR. INGBER:      Objection.     Asked and

 2    answered.

 3                THE WITNESS:      I would say that's -- I would

 4    say that's fair, yes.

 5    BY MR. HUDSON:

 6          Q.    And -- and here, what Cricket has decided

 7    to convey to its customers, is half is more,

 8    unlimited plans, half the price of the AT&T and

 9    Verizon, all with no contract, right?

10          A.    Correct.

11          Q.    So, sir, this would be another example of

12    Cricket, in stores, indicating to customers that its

13    plans involved no contract, right?

14                MR. INGBER:      Objection.     Vague.

15                THE WITNESS:      It specifically states the

16    words "no contract," yes, but what we were trying to

17    convey to the customers, you know, exactly, I can't

18    speak to that.

19    BY MR. HUDSON:

20          Q.    But the words that Cricket chose to use are

21    "no contract."       That's fair, right?

22                MR. INGBER:      Objection.     Asked and

23    answered.

24                THE WITNESS:      That's fair, yes.

25                MR. HUDSON:      Caitlin, let's go to Tab 2, if



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 1    and conditions could have been provided to the

 2    customer at the point of sale based on how that

 3    individual transaction or interaction with the

 4    customer went.

 5    BY MR. HUDSON:

 6          Q.    As you sit here today, sir, you're not

 7    aware of any policy or practice that Cricket had

 8    between 2012 and 2014 that provided that the

 9    customer would be presented with the terms and

10    conditions at the point of sale, correct?

11          A.    I -- I don't recall.

12          Q.    You don't know one way or the other?

13                MR. INGBER:      Objection.     Mischaracterizes

14    testimony.

15                THE WITNESS:      No, I can't -- I can't recall

16    specifically.

17    BY MR. HUDSON:

18          Q.    It's not something, Mr. Moses, that you --

19    you looked into and tried to figure out in

20    preparation for this deposition?

21          A.    I did not look into that.

22          Q.    Is that something that, if you had more

23    time, you could look into?

24          A.    Could look into, yes.        Yes, it could be

25    looked into.



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 1          A.    That's correct.

 2          Q.    And you testified that if Cricket corporate

 3    had a policy or practice, you would expect someone

 4    to have informed you of it, right?

 5          A.    They wouldn't have informed me personally,

 6    no.

 7          Q.    They would have informed someone in your

 8    store, right?

 9          A.    Not necessarily, no.

10          Q.    Well, sir, how -- how would you implement

11    the policy or practice if no one at Cricket

12    corporate made you aware of it?

13          A.    Policies or procedures were not

14    necessarily, you know, verbally spoken down to

15    anybody at the store.         There could have -- we had an

16    online kind of information tool that would house a

17    lot of our, you know, in-store, kind of, procedures

18    and something along those lines could have led to

19    there.     It may not have been proactively sent to the

20    store.

21          Q.    In your stores, sir, that -- that you

22    managed between 2012 and 2014, you didn't have a

23    practice of informing customers of the terms and

24    conditions, correct?

25          A.    That's correct.



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 1    "presented."

 2                THE WITNESS:      Again, we -- we had no

 3    control over what the customer chose or chose not

 4    to -- not to read either in the store or outside of

 5    the store.

 6    BY MR. HUDSON:

 7          Q.    You did, though, have the ability to

 8    control what information you put in front of the

 9    customer, right?

10                MR. INGBER:      Objection.     Vague.

11                THE WITNESS:      Yes, we controlled -- we

12    controlled the marketing materials and the messaging

13    that was in place inside of our stores.

14    BY MR. HUDSON:

15          Q.    And one of the constant themes in your

16    marketing between, really, 1999 and 2014, when

17    Cricket was acquired by AT&T, was the message of

18    no-contract service, right?

19                MR. INGBER:      Objection.     Outside the scope.

20    Vague as to con- -- the term "constant theme."

21                THE WITNESS:      That's correct.       No contract

22    was part -- was part of our advertising.

23                MR. HUDSON:      Let's, if we could, go to --

24    have -- 7D, please.

25                THE STENOGRAPHER:       Was that last document



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 1    one of these invoices that captured their signature?

 2          A.    It's certainly possible that they did, yes.

 3          Q.    But -- but as you sit here today, do you

 4    have any evidence to -- to support the fact that any

 5    particular customers actually did do that?

 6          A.    Not at a particular or individual customer

 7    level, I do not.

 8          Q.    Okay.    And in advance for -- of your

 9    preparation for your deposition today, is there any

10    reason why you or others affiliated with Cricket

11    could not have attempted to do that?

12          A.    It was -- it was not discussed.

13                MR. INGBER:      I just want to be clear, Ty,

14    about expectations for this.           Are you -- are you

15    asking whether Mr. Moses could have come to the

16    deposition today and identified, by name, every

17    single Cricket customer who would have signed

18    something post May of 2017?           That is, a customer,

19    who was a Cricket customer between 2012 and 2014,

20    who also signed something indicating agreement to

21    terms and conditions after May of 2017?

22                MR. HUDSON:      I'm -- I'm just asking

23    questions.      The witness seemed to understand it, has

24    answered it.      So I think -- I think we've --

25    we've -- we've covered it.



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 1     the time period after 2014, sir, you've talked about

 2     a process that Cricket initiated in 2017 or forward

 3     that related to signature capture, correct?

 4          A.    Yeah, that's correct.

 5          Q.    And is the contention that certain Cricket

 6     customers agreed to arbitrate their disputes through

 7     that process, but as you sit here today, you cannot

 8     say whether or not any of the Cricket -- the legacy

 9     Cricket customers from 2012 to 2014 did so, correct?

10                MR. INGBER:      Objection.     Asked and

11     answered.

12                THE WITNESS:      I cannot give you specific

13     names of customers that -- that may have done that.

14     BY MR. HUDSON:

15          Q.    Okay.    And so are those -- are those, sir,

16     the two processes, then, that Cricket contends

17     resulted in customers agreeing to arbitration?

18          A.    That's correct.

19          Q.    There's nothing else, that you're aware of,

20     that -- that Cricket points to, in terms of

21     processes or policies or practices, that resulted in

22     customers agreeing to arbitration, correct?

23          A.    Outside of, again, using your device, the

24     new process of signing the signature capture device

25     in May of 2017 forward, the text messages that we



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 1

 2

 3

 4

 5              I, Monica Lepe-Georg, a Certified Shorthand
 6     Reporter, do hereby certify:
 7                That prior to being examined, the witness
 8     in the foregoing proceedings was by me duly sworn to
 9     testify to the truth, the whole truth, and nothing
10     but the truth;
11                That said proceedings were taken remotely
12     before me at the time and places therein set forth
13     and were taken down by me in shorthand and
14     thereafter transcribed into typewriting under my
15     direction and supervision;
16                I further certify that I am neither counsel
17     for, nor related to, any party to said proceedings,
18     not in anywise interested in the outcome thereof.
19                IN WITNESS WHEREOF, I have this date
20     subscribed my name.
21     Dated:    February 16th, 2021
22

23                                 ____________________________
                                         _____________

                                   MONICA LEPE-GEORG, No. 11976
24

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